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                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                            FORT LAUDERDALE DIVISION

            In re:

            VITAL PHARMACEUTICALS, INC., et al.,1                           Case No.: 22-17842-PDR

                                                                            Chapter 11
                  Debtors.                                                  (Jointly Administered)
            _______________________________________/

            VITAL PHARMACEUTICALS, INC., et al.,

                     Plaintiffs,

            v.                                                              Adv. Proc. No. 23-01051-PDR

            JOHN H. OWOC AND MEGAN E. OWOC,

                  Defendants.
            _______________________________________/

                                DECLARATION OF JOHN. H. OWOC IN SUPPORT
                             OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT

                     Pursuant to 28 U.S.C. § 1746, John H. Owoc aka Jack Owoc, hereby declares as follows

            under the penalty of perjury:

                     A.      Background.

                     1.      I am the creator, founder, and sole shareholder of Vital Pharmaceuticals, Inc.

            (“VPX”) and the other debtors and debtors in possession (together with VPX, the “Company” or

            the “Debtors”) in the above-captioned cases. I created VPX in 1993, almost thirty (30) years ago



            1
                     The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the
            Debtors' federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy
            Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate
            Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
            (vii) Vital Pharmaceuticals International Sales, Inc. (8019).


            {2467/000/00553646}                                 1
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            and I formed VPX on May 7, 1996.

                    2.       From the formations of the Debtors, until approximately March 9, 2023, I served

            as the Chief Executive Officer (“CEO”) and Chief Science Officer (“CSO”) of the Debtors in this

            action. I served as the CEO and CSO of VPX for over 29 years.

                    3.       Unless otherwise noted I am personally familiar with the matters set forth herein.

                    4.       My story is a stellar example of an American dream – I literally rose from the

            mattress to a mansion. When I first started in this industry, I was sleeping on an air mattress in the

            back of a 350 square foot nutrition supplement retail store called the Vita House. At VPX’s height,

            it was operating in several million square feet of real estate. Since a few weeks ago, under my

            leadership, VPX eclipsed over $6 billion in retail sales. I was intimately involved on a daily basis,

            personally developing 100% of the formulas, including the flavoring, and packaging innovations

            for the past 29 years. Throughout my life, I have been an avid health conscious fitness enthusiast,

            weight-lifter, scientist, innovator, inventor, and creator of dietary and nutritional supplement and

            energy drinks, sports drinks, and nutritional bars, motivational speaker and writer . I am passionate

            about creating innovative, delicious, and efficacious products. As CEO of VPX, I had nearly 30

            gold standard studies conducted at prestigious universities such as UCLA, FSU, Baylor, and Nova

            University regarding the efficacy and functionality of VPX products. Gold standard studies are

            double blind placebo controlled human studies.

                    5.       In addition to the Bang Energy drink, I have also conceptualized, created, and

            brought to market a bevy of energy drinks and dietary and nutritional supplements including but

            not limited to the VPX Redline Energy Drink, the Meltdown 1 Keto drink, the Quash drink, Vooz

            sports drink and a line of dietary and nutritional supplements under the brands Redline, Meltdown

            and VPX such as protein powder, pre-workouts, vitamins, and ready to eat nutritional bars. Not



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            only did I create these successful products, but I also created dozens of unlaunched product

            innovations and trademarks, which are slated to be released and launched into the nutritional

            supplement and beverage market long into the future. I am saddened that the bankruptcy process

            seems to have destroyed these in the few short months that they have taken control of VPX.

                    6.       I submit this Declaration in support of the Response to Motion for Summary

            Judgment being filed contemporaneously herewith.

                    B.       The Jack Owoc Persona.

                    7.       I designed each of my endeavors with the essence of my own personal philosophy

            and belief system, that is, in short, that we as human beings have an unlimited capacity to develop

            our bodies, minds, and spirits, with God’s help, to their highest capacity through hard work, cutting

            edge science, positive thinking, and an adamant refusal to quit, which are characteristics of a

            “CEO” or “chief operating officer.” The foregoing philosophy, when combined with my image,

            my style, and my overall identity is my persona.

                    8.       Indeed, I have worked extremely diligently over the course of over 30 years to build

            and cultivate my persona and have been successful at doing so such that separate and apart from

            any product and any company, the persona of Jack Owoc is a brand that has value.

                    9.       It is for this reason, specifically, that when my wife and I decided to heavily

            incorporate and utilize social media to market the Debtors’ products and endeavors, we

            deliberately and expressly, created our own personal, individual social media accounts that we

            segregated from the assortment of the Debtors’ social media accounts and treated differently.

                    10.      Moreover, there has never been a concern or suggestion that my personal social

            media accounts, i.e., the Accounts, would somehow become the property of the Debtors because I

            am not now, and have never been, a party to any employment agreement with the Debtors.



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                    C.       The Accounts Have Always Been the Personal Property of Jack Owoc.

                    11.      I have three (3) personal social media accounts that are here at issue: an Instagram

            and TikTok account each bearing the handle @bangenergy.ceo, and a Twitter account bearing the

            handle @BangEnergyCEO.            These accounts collectively are hereinafter referred to as the

            “Accounts”.

                    12.      As an initial matter, the Court should be aware that the handles of these accounts

            expressly reflect the fact that they are my personal, social media accounts. “Bangenergyceo” is a

            double entendre, that on the one hand obviously referred to my former position as CEO of the

            Debtors. But at the same time, the “Bangenergyceo” refers to the Jack Owoc persona of the

            explosive, high-intensity, unstoppable leader – literally the Bangenergyceo. As discussed below,

            a substantial majority of the postings on the Accounts are expressly designed to, and successfully

            do in fact, market, cultivate, and curate the Jack Owoc persona – separate and apart from the

            Debtors’ products.

                    13.      My wife and I conceived of the handles for the Accounts and specifically utilized

            the handle to refer to and complement the Jack Owoc persona.

                    14.      My wife personally created the Twitter and Instagram accounts at issue.

                    15.      My wife and I specifically instructed company personnel to create the TikTok

            account.

                    16.      From their inception and continuing up through and until my termination, it was

            always understood and agreed that the Accounts were exclusively my personal social media

            accounts and the personal property of Jack Owoc.

                    17.      More specifically, as the Debtors admit, I have always had exclusive possession,

            custody, and control of the Accounts. From their inception and continuing through until the

            present, the Debtors have never held possession of the passwords for any of the Accounts.

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                    18.      Indeed, prior to my termination, the Debtors had never even requested the

            passcodes for my Accounts because it was always agreed and understood that these accounts were

            exclusively my own personal social media accounts.

                    19.      The only employees of the Debtors who ever had access to the passwords for my

            Accounts are those whom I, as owner of the Debtors, specifically tasked with assisting me with

            my accounts. The marketing department of Debtors’ created videos that were posted to my

            personal TikTok account.

                    20.      On the other hand, the Debtors have over 20 Instagram accounts, 8 TikTok

            accounts, 5 Twitter accounts, and over 19 Facebook accounts (all collectively, the “Company

            Accounts”). It is important to note that for these Company Accounts, there are Company Accounts

            for the Bang product for all three (3) social media platforms at issue in this Motion for Summary

            Judgment, e.g.:

                               a) Instagram:         @bangenergy,          @banghardseltzer,       @bang.fuelteam,

                                   @bang_merch,              @bangenergysweepstakes,           @bangenergy.careers,

                                   @bangenergyaustralia,         @bangenergy.germany,       @bangenergy.finland,

                                   @bang.chile,          @bangenergy.abcislands,           @bangenergy.denmark,

                                   @bangenergynorway,            @bangenergy.costarica,        @bangenergy.bolivia,

                                   @bangenergy.sweden, @bangenergy.colombia, @bangenergy.southafrica,

                                   @bangenergy.france, @bangenergy.switzerland and @bangenergy.eu;

                               b) Twitter: BANGenergy; and

                               c) TikTok: @bangenergy @bang.fuelteam,

            which are in the possession and control of Debtors. As to these Company Accounts, the Debtors

            have always held possession of the usernames and passwords and continue to do so. It is



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            noteworthy to point out that the Company Account @bangenergy on Instagram has 2.2 million

            followers, while my personal @bangenergyceo Instagram account has less than half of that, 1

            million followers.

                    21.      As to the Accounts, from their inception and continuing through until the present,

            I have always exercised full, complete, unilateral discretion as to the content that would be posted.

            No individual was ever permitted to post content to the Accounts without my express consent and

            approval.

                    22.      And in fact, on multiple occasions, I specifically rejected content suggested by my

            team during my tenure with the Debtors and/or demanded that it be revised because it did not

            reflect and complement the Jack Owoc persona.

                    23.      The Debtors have never had control over any procedures according to which I

            would post material or direct material to be posted on my Accounts.

                    24.      The Debtors have never had control over the timing according to which I would

            post material or direct material to be posted on my Accounts.

                    25.      As to the Company Accounts however, the Debtors were, and continue to be, free

            to post whatever content was deemed appropriate for the marketing of their products.

                    26.      It is true that I personally posted or approved and directed the posting on my

            Accounts of some marketing content created by the Debtors, most often after I made revisions to

            the content. I approved and/or directed such postings to be made for the benefit of the Debtors,

            but also because I deemed the content to reflect, enhance, and compliment the Jack Owoc persona.

                    27.      Indeed, the substantial majority of postings on my social media accounts, i.e., the

            Accounts, are of a personal nature, designed to complement and enhance the Jack Owoc persona,

            and are not marketing the Debtors’ business or product.



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                    28.      For example, of the roughly 99 postings I made or directed to be made to my

            @Bangenergyceo Instagram account between November 17, 2022 and April 10, 2023, roughly 58

            of those postings are clearly personal. In other words, approximately 59% of the postings are

            personal and reflective of my persona only.

                    29.      Representative samples of the clearly personal Instagram postings to my

            @Bangenergyceo Instagram account are attached here as Exhibit 1. As can be seen in Exhibit A,

            my personal posts include posting pictures and videos of me and my wife and six (6) children at

            our home, at church, on vacations in our every-day lives, and especially during holidays and

            celebratory occasions, such as the birth and birthdays of my young children. I have posted videos

            of the most personal nature, such as videos of the events leading up to and immediately after the

            home water births of each of my youngest five (5) children. I recently re-posted the video shot of

            my wife before the birth of our daughter Carrington. I cannot think of anything more personal in

            nature than my wife giving birth to our children, in our home. I also post pictures of me engaged

            in my hobbies, such as fishing or drumming. I post comments about being a leader and a husband.

            I post pictures and videos of me and my family at church and with our pastor, as I am passionate

            about sharing my walk with Jesus Christ in my life. During most, if not all of my and my family’s

            activities during these posts, we are wearing Bang apparel, drinking a Bang or a Vooz, or otherwise

            promoting a VPX product. In fact, in the recent TBT re-posting of the birth of my daughter, you

            can see two cans of Bang behind the birthing pool, but that fact does not make this post any less

            personal of a post.

                    30.      For further example, of the roughly 146 postings I made or directed to be made to

            my @Bangenergyceo TikTok account between January 1, 2022 and April 10, 2023, approximately

            80 of those postings are clearly personal. In other words, approximately 55% of the postings are



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            personal and reflective of my persona only.

                    31.      Representative samples of the clearly personal postings to my @Bangenergyceo

            TikTok account are attached here as Exhibit 2.

                    32.      For further example, of the roughly 39 postings I made or directed to be made to

            my @Bangenergyceo Twitter account between November 17, 2020 and April 10, 2023,

            approximately 32 of those postings are clearly personal. In other words, approximately 82% of

            the postings are personal and reflective of my persona only.

                    33.      Representative samples of the clearly personal postings to my @Bangenergyceo

            TikTok account are attached here as Exhibit 3.

                    34.      The Debtors’ assertion that the “vast majority” of postings made to my Accounts is

            therefore untrue. In point of fact, the majority of postings that I made or approved or specifically

            directed be made are personal postings for the benefit of the Jack Owoc persona.

                    35.      Further, the presence of one of my personal Accounts on the can of one of the

            Debtors’ products reflects no more than a de facto mutual licensing agreement between me and

            the Debtors. With my termination, that agreement is also effectively terminated.

                    36.      The mere fact that the value of the Debtors’ assets would be increased by

            wrongfully taking control of my personal social media accounts is irrelevant to the fact that these

            accounts are now, and always have been, my own personal property.

                    D.       I am in Need of Further Discovery.

                    37.      The complaint in the above-captioned adversary proceeding was filed

            approximately one month ago, on March 14, 2023. ECF No. 1. I have not yet filed an answer or

            other response to it.

                    38.      During the approximately four weeks the complaint has been pending, the Debtors



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            have filed an emergency motion for temporary restraining order and two emergency motions for

            contempt. ECF Nos. 2, 13 and 28. These filings have resulted in the Court setting hearings on

            March 16, March 28, and April 12, 2023. ECF Nos. 6, 15 and 30. I have devoted substantial time,

            energy and resources to attending these filings and hearings.

                    39.       Additionally, the filing date of the complaint, March 14, 2023, is approximately

            five (5) days after I was terminated as an officer of the Debtors on March 9, 2023. Prior to my

            termination, my primary email address was a corporate email with the Debtors. Following the

            termination I have been unable to access emails from that account, or other corporate documents

            and records of the Debtors.

                    40.       In order to put forth sufficient evidence for the Court to resolve this matter, I am in

            need of discovery that my attorneys’ have as of yet been unable to obtain. This includes, but is

            not limited to:


                              a)     Documents and deposition testimony from John C. Didonato, the Chief
                                     Transformation Officer (the "CTO") of the Debtors who made a declaration
                                     in support of the Motion. Among other things, the CTO swears that he has
                                     "personal knowledge" that of the more than 6,400 posts on the Instagram
                                     account, "a vast majority…promote the Debtors' products and businesses."
                                     The CTO also swears that he has "personal knowledge" that the content of
                                     the TikTok and Twitter accounts "each include[e] content primarily focused
                                     on promoting the Debtors' products and business." Those statements are
                                     not credible for the reasons stated hereinabove.

                              b)     All copies, editions and drafts of the Employee Handbook, including any
                                     employee handbook or agreement purportedly executed by me. Upon
                                     information and belief I have never signed an employee agreement or
                                     employee handbook with the Debtors.

                              c)     Documents and deposition testimony from a Fed. R. Civ. P. 30(b)(6)
                                     representative of the Debtors knowledgeable to testify about the allegations
                                     in the Complaint;

                              d)     Debtors’ corporate documents, emails and communications regarding the
                                     Accounts, including communications as to the ownership the Accounts; and


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                             e)      Discovery from relevant social media entities, including Instagram, TikTok
                                     and Twitter, for terms and conditions with account holders and any
                                     contracts relevant to my Accounts.

                    41.      I did not authorize my former counsel in this adversary proceeding, Justin Luna,

            Esq., to enter into the stipulation for temporary restraining order entered at ECF Nos 9 and 10. I

            anticipate bringing this matter to the Court’s further attention via a motion to vacate the temporary

            restraining order.

                    I declare under penalty of perjury that the foregoing is true and correct.

                                    
                    Executed On: ____________________




                                                                     John H. Owoc




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                               ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District

Court for the Southern District of Florida and I am in compliance with the additional

qualifications to practice in this Court set forth in Local Rule 2090-1(A).

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

Notice of Electronic Filing by CM/ECF to all parties registered to receive such service in

this case on 16th day of April 2023.

                                       Respectfully Submitted,

                                       SHRAIBERG PAGE, P.A.
                                       Attorneys for Owocs
                                       2385 NW Executive Center Drive, #300
                                       Boca Raton, Florida 33431
                                       Telephone: 561-443-0800
                                       Facsimile: 561-998-0047
                                       Email: bss@slp.law

                                       By:    /s/ Bradley S. Shraiberg
                                              Bradley S. Shraiberg
                                              Florida Bar No. 121622
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                    EXHIBIT 1
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Instagram @bangenergy.ceo

https://www.instagram.com/bangenergy.ceo/




https://www.instagram.com/p/CoF96fesYIx/




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https://www.instagram.com/p/CnsNBKcvdzN/
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https://www.instagram.com/p/Cnpo1gcOGzo/
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https://www.instagram.com/p/CnnKUBJO84N/
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https://www.instagram.com/p/CnkuZsDvCsT/
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https://www.instagram.com/p/CnkeoTXudL7/




https://www.instagram.com/p/CniVXMuPNn-/
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https://www.instagram.com/p/Cnh519hOS5E/
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https://www.instagram.com/p/CnAfYzlPFHv/
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https://www.instagram.com/p/ClmlUrFjcbn/
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https://www.instagram.com/p/ClUhDdTJJpU/
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https://www.instagram.com/p/ClMyjisJXI2/
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https://www.instagram.com/p/ClHqWoKDb-r/
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   TikTok -- @bangenergy.ceo
    https://www.tiktok.com/@bangenergy.ceo




    https://www.tiktok.com/@bangenergy.ceo/video/7207538412906171694




    https://www.tiktok.com/@bangenergy.ceo/video/7205700225397263658
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https://www.tiktok.com/@bangenergy.ceo/video/7199012036292971818
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https://www.tiktok.com/@bangenergy.ceo/video/7188612080197471531
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https://www.tiktok.com/@bangenergy.ceo/video/7169628291928984878
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https://www.tiktok.com/@bangenergy.ceo/video/7162986942148332846
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https://www.tiktok.com/@bangenergy.ceo/video/7154773302802910510
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https://www.tiktok.com/@bangenergy.ceo/video/7151485857248054574
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https://www.tiktok.com/@bangenergy.ceo/video/7093105394687495470
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